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                            UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

 In re:                                             Chapter 7
  PURE WEIGHT LOSS, INC.
                                                    Bankruptcy No. 08-10315-JKF
        Debtor(s)

                                   ORDER OF DISTRIBUTION
                     26th
       AND NOW, this _______                        19 the Trustee, BONNIE B.
                             day of ______________20___,
                                      June

FINKEL, is hereby ordered and directed to (i) distribute to the parties in interest listed in the

Trustee’s Proposed Distribution, estate monies in the amounts indicated in such Distribution,

within twenty (20) days after the appeal period for this order expires due to the large number of

claims, and (ii) transmit to the United States Trustee, within one hundred twenty-five (125) days

after the appeal period for this order expires, statements for all estate deposit or investment

accounts indicating zero balances and all canceled checks corresponding to disbursements of

estate funds as shown in the Trustee's Final Report and Account.




                                              JEAN K. FITZSIMON
                                              UNITED STATES BANKRUPTCY JUDGE
                 6/26/19
 DATED:______________________
